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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

__________________________________________
                                          )
MICHAEL SARTIP                            )
                                          )
            Plaintiff,                    )
v.                                        )                Case No.: 4:21-cv-1039-RBH
                                          )
                                          )                DECLARATION OF
                                          )                JON B. WALDORF, ESQ. IN
                                          )                SUPPORT OF DEFENDANT’S
                                          )                MOTION TO STAY AND
                                          )                COMPEL ARBITRATION OR IN
TESLA, INC.                               )                THE ALTERNATIVE TO
                                          )                DISMISS
            Defendant.                    )
__________________________________________)

        I, Jon B. Waldorf, Esq. declare:

        1.     I am an attorney duly licensed to practice law before this Court, I am a member of

RoseWaldorf PLLC, attorney of record for Defendant Tesla, Inc. (“Tesla”).

        2.     I have personal knowledge of the following facts, except for those stated upon

information and belief and, if called upon as a witness, I would and could competently testify to

them.

        3.     This declaration is submitted in support of Defendant Tesla’s Motion to Stay and

Compel Arbitration or in the alternative to Dismiss Plaintiff’s Complaint with prejudice.

        4.     A true and correct copy of the Motor Vehicle Order Agreement relating to the

subject vehicle, is attached hereto as Exhibit “A.”

        5.     A true and correct copy of the Tesla New Vehicle Limited Warranty is attached

hereto as Exhibit “B.”

        6.      Upon receipt of the Complaint in this matter, on April 2, 2021, I forwarded an e-



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mail to Plaintiff’s counsel to highlight that the dispute between the parties was subject to

arbitration and requesting that Plaintiff dismiss this matter. A true and correct copy of the April

2, 2021 e-mail to Plaintiff’s counsel is attached hereto as part of Exhibit “C.”

       7.      Plaintiffs’ counsel responded by e-mail, dated April 2, 2021. A true and correct

copy of Plaintiffs’ counsel’s April 2, 2021 e-mail is attached hereto as part of Exhibit “C.”

       8.      On April 5, 2021, I forwarded a copy of the New Vehicle Limited Warranty and

Motor Vehicle Arbitration Agreement which contain the arbitration agreements upon which Tesla

relies in filing the instant motion. A true and correct copy of the April 5, 2021 e-mail is attached

hereto as part of Exhibit “C.”

       9.      Plaintiff’s counsel responded by advising that, “we can’t agree to arbitration.” A

true and correct copy of Plaintiff’s counsel’s e-mail from April 5, 20201 is attached hereto as part

of Exhibit “C.”

       10.     On April 8, 2021, I emailed Plaintiff’s counsel in yet another attempt to avoid

unnecessary motion practice and requested the factual and legal basis that Plaintiff was relying

on in failing to allow this matter to proceed to arbitration. A true and correct copy of the April 8,

2021 e-mail is attached hereto as part of Exhibit “C.” Plaintiffs’ counsel did not agree to dismiss

this matter or move forward with arbitration.

       11.     To the extent Plaintiff continues to fail to explain the factual and legal basis for his

refusal to stipulate to arbitration in this case, Tesla reserves the right to seek relief from this Court

in accordance with Rule 11 of the Federal Rules of Civil Procedure.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and if called as a witness I could and would so testify.




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Dated: Albany, New York                     ROSEWALDORF PLLC
       April 14, 2021
                                     By:      s/ Jon B. Waldorf
                                            Jon B. Waldorf, Esq.
                                            (SC Bar No.: 76445)
                                            (District Court ID No.: 10668)
                                            Attorneys for Defendant
                                            Tesla, Inc.
                                            501 New Karner Rd.
                                            Albany, New York 12205
                                            Phone: (518) 869-9200
                                            jwaldorf@rosewaldorf.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, filed through the ECF system on this date,

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) and paper copies will be sent to those indicated as non-registered.

Dated: Albany, New York
       April 14, 2021

                                                      s/ Jon B. Waldorf
                                                     Jon B. Waldorf, Esq. (SC Bar No.: 76445)
                                                     (District Court ID No.: 10668)




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